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                         EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                        )
IN RE PHARMACEUTICAL INDUSTRY                           )   MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION                      )   Civil Action No. 01-12257-PBS
                                                        )   Subcategory No.: 03-10643-PBS
                                                        )
THIS DOCUMENT RELATES TO:                               )
                                                        )   Judge Patti B. Saris
The City of New York, et al. v. Abbott Laboratories,    )
Inc., et al.                                            )


                           [PROPOSED] ORDER OF DISMISSAL
                              AS TO CLAIMS AGAINST DEY

               Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the plaintiffs the

Consolidated New York Counties (the “Plaintiffs”) and defendants Dey Pharma, L.P. (formerly

known as “Dey, L.P.”) and Dey, Inc. (collectively, “Dey”) have filed a Stipulation of Dismissal

as to the claims asserted by Plaintiffs against Dey in the consolidated action entitled In re

Pharmaceutical Industry Average Wholesale Price Litigation: The City of New York, et al. v.

Abbott Laboratories, Inc., et al. (MDL No. 01-CV-12257-PBS, Subcategory No. 03-10643) (the

“Litigation”). Upon due consideration of the Stipulation and the papers on file in this action,

               IT IS HEREBY ORDERED that, consistent with the terms of the February 23,

2010 Settlement Agreement and Release (the “Settlement Agreement”) between the

Consolidated New York Counties, New York State and Dey, all claims asserted on behalf of the

Plaintiffs and/or its various agencies, departments and instrumentalities against Dey concerning

the Covered Conduct as defined in Paragraph 3 of the Settlement Agreement shall be dismissed

with prejudice, each party shall bear its own costs except as otherwise provided for in the

Settlement Agreement, and all rights of appeal shall be waived.




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      Entered this _____ day of __________, 2010.




                                          _____________________________
                                          Patti B. Saris, J.
                                          United States District Court




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